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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


HISPANIC FEDERATION, PODER     Case Nos. 4:23-cv-218-AW-MAF
LATINX, VERÓNICA GUADALUPE               4:23-cv-216-MW-MAF
HERRERA-LUCHA, NORKA MARTÍNEZ,
A. DOE, and B. DOE,

                        Plaintiffs,          MOTION TO CONSOLIDATE
                                             JOINT STATUS REPORTS
      v.                                     WITH RELATED CASE
CORD BYRD, in his official capacity as the
Secretary of State of Florida, and ASHLEY
MOODY, in her official capacity as Florida
Attorney General,

                        Defendants.


LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC.; LEAGUE OF WOMEN
VOTERS OF FLORIDA EDUCATION
FUND

                        Plaintiffs,
v.

ASHLEY MOODY, in her official capacity
as Attorney General of Florida, CORD
BYRD, in his official capacity as Florida
Secretary of State,

                       Defendants.
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       Plaintiffs move to consolidate the joint status reports in these cases with the

joint status reports in Florida State Conference of Branches and Youth Units of the

NAACP, et al. v. Byrd, No. 4:23-cv-00215-MW-MAF in the interest of judicial

economy and to preserve the resources of the parties. Plaintiffs have conferred with

Defendants, and neither Defendant opposes this motion.

       This Court has already recognized the overlap across these three cases. On

June 7, 2023, Judge Winsor reassigned Case No. 4:23-cv-00218 to facilitate “judicial

efficiency” by “having a single judge assigned all three closely related cases,” in line

with Federal Rules of Civil Procedure 42, Local Rule 7.1, and “this court’s settled

practice.” Dkt. 21. And on July 28, 2023, this Court granted Plaintiffs’ motion to

consolidate the three cases for scheduling and trial. Dkt. 87.

       On August 2, 2023, and September 1, 2023, the Hispanic Federation Plaintiffs

and Defendants included their joint status report updates in the reports filed by the

Florida NAACP Plaintiffs. See Case No. 4:23-cv-00215, Dkt. 122 & 150. The

Hispanic Federation Plaintiffs and Defendants then filed additional joint status

reports on August 14, 2023, and September 21, 2023, to comply with the separate

deadlines in place for Case No. 4:23-cv-00218.1 Similarly, the League of Women

Voters of Florida Plaintiffs and Defendants included their updates in the

consolidated report filed on September 1. See Case No. 4:23-cv-00215, Dkt. 150.



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  On September 20, 2023, this Court ordered the Hispanic Federation parties to provide another
joint status report in line with the separate deadline in place for this case.
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The League of Women Voters of Florida Plaintiffs and Defendants then filed an

additional joint status report on September 21 to comply with the separate deadlines

in place for Case No. 4:23-cv-00216.2

         In the interest of efficiency, Plaintiffs respectfully request that this Court

consolidate the joint status reports and accompanying deadlines with the reports

being submitted in Case Nos. 4:23-cv-215. Allowing the three cases to proceed with

one consolidated status report reflecting the progress in each of the cases would

further the interests of judicial economy.



    Dated: September 27, 2023                    Respectfully submitted,

                                                 /s/ Julie A. Ebenstein         .
    Cesar Z. Ruiz*                               Julie A. Ebenstein (FBN 91033)
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 On September 20, 2023, this Court ordered the League of Women Voters of Florida parties to
provide another joint status report in line with the separate deadline in place for this case.
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                  Lucha, Norka Martínez, and Elizabeth Pico


/s/ Brent Ferguson_________________
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Counsel for Plaintiffs League of Women Voters of Florida, Inc. and
League of Women Voters of Florida Education Fund


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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      On September 25, 2023, counsel contacted both defendants about this motion

to consolidate. The Attorney General and the Secretary of State do not oppose the

motion.




Dated: September 27, 2023                  Respectfully submitted,


                                           /s/ Julie A. Ebenstein
                                           Julie A. Ebenstein (FBN 91033)

                                           /s/ Brent Ferguson
                                           Brent Ferguson
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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

     Plaintiffs’ motion to consolidate contains 884 words.



Dated: September 27, 2023                  Respectfully submitted,


                                           /s/ Julie A. Ebenstein
                                           Julie A. Ebenstein (FBN 91033)

                                           /s/ Brent Ferguson
                                           Brent Ferguson




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                       CERTIFICATE OF SERVICE

     The foregoing motion for consolidation and supporting memorandum thereto

have been served on Counsel for Defendants via CM/ECF.



Dated: September 27, 2023                Respectfully submitted,


                                         /s/ Julie A. Ebenstein
                                         Julie A. Ebenstein (FBN 91033)

                                         /s/ Brent Ferguson
                                         Brent Ferguson




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